     Case 2:14-cv-00046-RMP      ECF No. 25       filed 06/05/14   PageID.267 Page 1 of 4




     KEVIN W. ROBERTS, WSBA #29473
 1
     ADAM J. CHAMBERS, WSBA #46631
 2   DUNN BLACK & ROBERTS, P.S.
     111 N. Post, Ste. 300
 3
     Spokane, WA 99201-0907
 4   Telephone: (509) 455-8711
     Facsimile: (509) 455-8734
 5   Attorneys for Plaintiff
 6

 7

 8                        UNITED STATES DISTRICT COURT

 9                      EASTERN DISTRICT OF WASHINGTON
10   INDUSTRIAL SYSTEMS &                     )
     FABRICATION, INC., a                     )    NO. 2:14-CV-00046-RMP
11
     Washington corporation,                  )
                                                   PLAINTIFF’S MOTION AND
12                                            )
                        Plaintiff,                 MEMORANDUM TO QUASH
                                              )
13                                                 SUBPOENA
                                              )
           v.
14                                            )
                                                   Date: July 7, 2014
     WESTERN NATIONAL                         )
15                                                 Time: 6:30 p.m.
     ASSURANCE COMPANY, a                     )
16   Minnesota company                        )
                                                   Without Oral Argument
                                              )
17                      Defendants.           )
18
                                              )

19                                    I.      MOTION
20
           Industrial Systems & Fabrication, Inc. (“Industrial Systems”), by and through
21
     its attorneys of record, Dunn Black & Roberts, P.S., hereby moves the Court to quash
22

23   the subpoena propounded by Western National Assurance Company to Alex N. Sill

24   Company as the subpoena requests privileged information. This Motion is made
25
     PLAINTIFF’S MOTION AND                                             Dunn Black & Roberts
26                                                                             A Professional Service Corp.
     MEMORANDUM TO QUASH                                                       111 North Post, Suite 300
     SUBPOENA - 1                                                                 Spokane, WA 99201
                                                                    VOICE: (509) 455-8711 • FAX: (509) 455-8734
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     pursuant to Fed. R. Civ. P. 45, the Declaration of Adam J. Chambers, and the
 1

 2   pleadings of record filed herein.
 3
                                            II.     FACTS
 4
            1.      On May 27, 2014, Western National Assurance Company (“Western
 5

 6   National”) served a subpoena on Alex N. Sill Company. (Ex. A to Decl. of

 7   Chambers).
 8
            2.      The subpoena requests documents that contain attorney-client and work
 9
     product privilege. (See Ex. A to Decl. of Chambers).
10

11          3.      To date, no documents have been produced. (Decl. of Chambers).
12
                                        III.      ARGUMENT
13
            Western National subpoenaed Alex N. Sill Company regarding documents in
14

15   its possession and control. While all the documents relevant to Industrial Systems’

16   “claim arising out of the fire” have already been provided to Western National,
17
     Western National now seeks to have these documents produced again, as well as
18
     additional documents. However, Alex N. Sill has been working as an agent of
19

20   Industrial Systems and a consultant to Industrial Systems’ counsel. Therefore the
21   requested documents contain numerous attorney-client communications as. See State
22
     v. Aguino-Cervantes, 88 Wn. App. 699, 707 (1997); State v. Gibson, 3 Wn. App.
23

24   596, 599 (1970); United States v. Kovel, 296 F.2d 918, 920 (2nd Cir. 1961).

25   Furthermore, the requested documents were generated in anticipation of litigation
     PLAINTIFF’S MOTION AND                                     Dunn Black & Roberts
26                                                                    A Professional Service Corp.
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     with Western National and constitute work product.           Under Fed. R. Civ. P.
 1

 2   45(c)(3)(A)(iii), the subpoena should be quashed. In the alternative, the Court should
 3
     modify the subpoena to prevent disclosure of any attorney-client/work product
 4
     privilege.
 5

 6                                 IV.    CONCLUSION

 7         Pursuant to the foregoing, Industrial Systems’ Motion to Quash Subpoena
 8
     should be granted.
 9
           DATED this 5th day of June, 2014.
10

11                                           s/ ADAM J. CHAMBERS
                                             ADAM J. CHAMBERS, WSBA #46631
12
                                             KEVIN W. ROBERTS, WSBA #29473
13                                           Dunn Black & Roberts, P.S.
                                             111 North Post, Ste. 300
14                                           Spokane, WA 99201
15                                           Telephone: (509) 455-8711
                                             Fax: (509) 455-8734
16                                           kroberts@dunnandblack.com
17
                                             achambers@dunnandblack.com
                                             Attorneys for Plaintiff
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     Case 2:14-cv-00046-RMP     ECF No. 25    filed 06/05/14   PageID.270 Page 4 of 4




                              CERTIFICATE OF SERVICE
 1

 2          I HEREBY CERTIFY that on the 5th day of June, 2014, I electronically filed
 3   the foregoing document with the Clerk of the Court using the CM/EFC system. The
 4   CM/ECF system will send notification of such filings to the following:
 5
        •   Dana A Ferestien
 6          dferestien@williamskastner.com,sbrown@williamskastner.com
 7

 8                                        s/ ADAM J. CHAMBERS
                                           KEVIN W. ROBERTS, WSBA #29473
 9
                                           ADAM J. CHAMBERS, WSBA #46631
10                                         Dunn Black & Roberts, P.S.
                                           111 North Post, Ste. 300
11                                         Spokane, WA 99201
12                                         Telephone: (509) 455-8711
                                           Fax: (509) 455-8734
13                                         kroberts@dunnandblack.com
14                                         achambers@dunnandblack.com
                                           Attorneys for Plaintiff
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